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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                            August 12, 2024
                     FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                             §
                                   §                  CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,          §
                                   §                  CHAPTER 11
      Debtor.                      §
                                   §
ALI CHOUDHRI,                      §
                                   §
      Plaintiff,                   §
                                   §
VS.                                §                  ADVERSARY NO. 24-3120
                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §
NEW YORK BRANCH,                   §
                                   §
      Defendant.                   §

                       ORDER DENYING MOTION TO REMAND

       This matter is before the Court on the Emergency Motion to Remand of Ali Choudhri (ECF
No. 3), the Defendant National Bank of Kuwait, S.A.K.P., New York Branch’s Objection to
Emergency Motion to Remand of Ali Choudhri (ECF No. 9), and the Plaintiff’s Supplement to
Motion to Remand, Response to Objection to Motion to Remand Including and Alternative Motion
for Abstention (ECF No. 15). This Court, having considered the pleadings filed, finds that the
Motion for Remand and the Alternative Motion for Abstention are denied.
                                FACTUAL BACKGROUND
       This adversary proceeding was commenced on June 7, 2024, pursuant to a Notice of
Removal (ECF No. 1) filed by the defendant National Bank of Kuwait, S.A.K.P., New York
Branch (“NBK”). Ali Choudhri (“Choudhri”) is the plaintiff in the state court lawsuit Cause No.
2024-27168; Ali Choudhri v. National Bank of Kuwait, S.A.K.P., New York Branch, in the 129th
Judicial District Court of Harris County Texas (the “State Court Lawsuit”). Choudhri filed a
Second Amended Original Petition and Jury Demand on May 15, 2024, in the State Court Lawsuit.
NBK removed the State Court Lawsuit to this Court on June 7, 2024 (ECF No. 1). Choudhri also
filed a Third Amended Complaint in this adversary (ECF No. 8).


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        Choudhri is an individual, and the sole member and manager of Galleria West Loop
Investments II, LLC, which is the sole member and manager of Galleria 2425 JV, LLC, which is
the sole member and manager of and principal officer in and of Galleria 2425 Owner, LLC, the
debtor in the underlying bankruptcy case, which owns an office building located at 2425 West
Loop South in Houston, Texas (the “Real Property”). As a principal related to the various corporate
entities and in his individual capacity, Choudhri participated in negotiations with NBK with
respect to issues affecting the Real Property.
        In 2018, Galleria 2425 Owner, LLC entered into a loan agreement with NBK. The
indebtedness on that loan was secured by a first lien deed of trust on the Real Property.
Accordingly, NBK held an interest in the Real Property by virtue of its first-priority deed of trust
and Galleria 2425 Owner, LLC held an interest in the Real Property as the owner. During
September of 2021, a dispute arose concerning certain loan payments. State court litigation ensued,
and in August of 2022 that litigation was dismissed as part of an agreement of the affected parties,
designated as a Confidential Settlement Agreement (“CSA”).
        As part of the CSA, Choudhri was required to cause the transfer of certain tax liens (“Tax
Liens”) against the Real Property for the years 2019 and 2020, valued at a little less than
$4,000,000, to NBK.1 Specifically, the agreement provided that “Choudhri shall cause the transfer
and assignment of the tax liens with respect to the Property for years 2019 and 2020 (the “Tax
Liens”) to NBK.” Plaintiff performed his obligations under the Agreement, and the Tax Liens were
transferred to NBK as set forth in the CSA. The agreement further provided that upon
consummation of the payment provisions of the agreement, the Tax Liens would be returned to
Choudhri as the rightful owner. In the operative documents this was stated as follows: “Upon
NBK’s receipt of either the Settlement Payment or Purchase Option Payment, NBK shall
contemporaneously transfer and assign the Tax Liens to Choudhri.” To date, the Tax Liens have
not been returned to Choudhri and the parties disagree over which party has breached the CSA.
        Here, Choudhri moves to remand on the basis that only asserted jurisdictional basis in the
notice of removal is that the State Court Lawsuit is a “core proceeding” pursuant to 28 U.S.C. §
157(b)(2). Choudhri argues that the jurisdictional allegation is incorrect as a matter of law, that



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 On April 9, 2024, the defendant filed proof of claim No. 13 in the bankruptcy case: In re Galleria 2425 Owner, LLC,
Case No. 23-34815 in the amount of $3,864,455.06 which is based on the defendant’s asserted ownership of the Tax
Liens.
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there is no arising under or arising in jurisdiction, and that the tax liens are not property of the
estate. Choudhri further alleges that removal was improper, and the case should be remanded back
to state court immediately. NBK asserts that this Court should not remand this case to state court
because it has “arising in” jurisdiction over the “core” lawsuit.2
          Choudhri also states in his Supplement to Motion to Remand at ECF No. 15 that the notice
of removal is untimely as NBK received a copy of the State Court Lawsuit on May 3, 2024. In
looking at the docket from the State Court Lawsuit,3 the petition was filed on April 26, 2024,
amended on May 3, 2024, and a request for issuance of service was on May 15, 2024. Thereafter,
a Second Amended Petition was filed on May 15, 2024, and a Third Amended Complaint was filed
in this adversary on July 3, 2024. Accordingly, the Court finds that this case was timely removed.
                                            LEGAL ANALYSIS
          There are four bases under which a motion to remand may be brought. 4 Section 1447
instructs courts to remand causes of action when it is determined that the court lacks subject matter
jurisdiction at any point prior to final judgment.5 A motion for remand pursuant to § 1452, or a
motion to abstain under § 1334(c) are rooted in equity, leaving courts discretion to rule.6 Remand
under § 1452 and § 1334(c) use similar factors in considering whether to remand the removed
action.
                                         MOTION TO REMAND
          The Motion to Remand was filed on June 10, 2024, within 30 days after the notice of
removal. As a result, the Motion to Remand was timely filed pursuant to 28 U.S.C. § 1447(c). The
burden is on NBK, as the removing party, to establish federal jurisdiction.7
          Section 1452, provides parties with the ability to: “remove any claim or cause of action in
a civil action other than a proceeding before the United States Tax Court or a civil action by a
governmental unit to enforce such governmental unit's police or regulatory power, to the district
court for the district where such civil action is pending, if such district court has jurisdiction of



2
  ECF No. 9, page 1.
3
  ECF No. 1-1
4
  28 U.S.C. §§ 1452(b) and § 1334(c)(1), (c)(2). In re Treyson Dev., Inc., 2016 WL 1604347, at *8 (Bankr. S.D.
Tex. Apr. 19, 2016).
5
  28 U.S.C. § 1447(c); see also In re Allison, 2006 WL 2620480, at *7 (Bankr. S.D. Tex. Sep. 12, 2006).
6
  J.T. Thorpe Co. v. Am. Motorists, 2003 WL 23323005, at *6 (S.D. Tex. June 6, 2003).
7
  In re NC12, Inc., 478 B.R. 820 (Bankr. S.D. Tex. 2012), citing DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342
n.3, 126 S.Ct. 1854, 164 L.Ed.2d 589 (2006).
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such claim or cause of action under section 1334 of this title.”8 However, it also allows the court
to which the action is removed to remand such cause of action on any equitable ground.9
        In determining whether to grant a motion to remand under § 1452(b), courts have
previously adopted the following factors: (1) the convenience of the forum; (2) the presence of
non-debtor parties; (3) whether the case should be tried as a whole in state court; (4) the duplicative
and uneconomic effect of judicial resources in two forums; (5) the lessened possibility of
inconsistent results; (6) whether the state court would be better able to handle issues of State law;
(7) the expertise of the Bankruptcy Court; (8) the degree of relatedness or remoteness to the main
bankruptcy case; (9) prejudice to involuntarily removed parties; (10) whether the case involves
forum shopping; (11) the burden on the Bankruptcy Court's docket; and (12) considerations of
comity.10
        Here, the lawsuit is premised on Choudhri’s allegations that (i) he owns certain tax liens
that he assigned to NBK under a CSA, and (ii) NBK is obligated to sell him the promissory note
for its loan to the Debtor and the related deed of trust securing the estate’s real property based on
an alleged June 2023 offer which Choudhri asserts was accepted ten months later in April 2024.
        NBK states that the viability of these claims necessarily involves the interpretation of
various orders the Court has entered in this case, including without limitation, the order allowing
NBK to credit bid at the auction on the Real Property and the order and decision confirming NBK’s
liquidating plan11 for the Debtor which (a) allows NBK’s tax lien claim and Loan claim against
the Debtor and (b) erects a gatekeeping threshold that requires Choudhri establish that the asserted
claims both (i) are not estate claims and (ii) are colorable before the lawsuit can proceed, the
requirements for establishing “arising in” jurisdiction have been satisfied.
        Further, NBK argues that even if “arising in” jurisdiction did not exist, the Court has post-
confirmation “related-to” jurisdiction over the lawsuit because, while the lawsuit partially involves
conduct that predates the bankruptcy case (the alleged prepetition offer by NBK that was allegedly
accepted by Choudhri during this chapter 11 case), the results of the lawsuit could impact the
implementation of the Plan if Choudhri prevails. Not only does the Plan provide that NBK has
allowed claims for the tax liens and the Loan and receives releases of estate claims, it also requires


8
  28 U.S.C. § 1452(a).
9
  28 U.S.C. § 1452(b).
10
   In re Montalvo, 559 B.R. 825 (Bankr. S.D. Tex. 2016).
11
    Case No. 23-34815, ECF No. 566.
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NBK (a) to fund a liquidation trust, to pay a significant amount to fund a partial payment to holders
of allowed unsecured trade claims and to pay in full secured and priority claims other than its
claims if it is the successful bidder of the Property and (b) to compromise the amount of its filed
tax lien claim and subordinate its distribution on its secured claim to fund a liquidation trust, to
pay a significant amount to fund a partial payment to holders of allowed unsecured trade claims
and to pay in full secured and priority claims if it is not the successful bidder. These matters directly
pertain to implementation of the Plan and, consistent with Fifth Circuit law, the Court has post-
confirmation “related-to” jurisdiction over the lawsuit that could impact them. The Court agrees
and finds that it has core jurisdiction over this cause of action.
                                        MOTION TO ABSTAIN
        In his supplement,12 Choudhri argues an alternative request for mandatory abstention.
Under 28 U.S.C. § 1334, the Court is required to abstain upon a timely motion where (1) the claim
has no independent basis for federal jurisdiction, other than § 1334(b); (2) the claim is a non-core
proceeding; (3) an action has been commenced in state court; and (4) the action could be
adjudicated timely in state court.13 The moving party holds the burden of proving that abstention
is appropriate.14 Here, Choudhri’s argument is that abstention will have zero effect on the
administration of the bankruptcy case as it has already been confirmed, but he does not present
any evidence that the state court could timely adjudicate the action. Here, the confirmed plan
specifically provides for retention of exclusive jurisdiction “over this chapter 11 Case and all
maters arising under, arising out of, or related to, this Chapter 11 Case.”15 The Court also finds
that it has core jurisdiction over the action. Therefore, there is no requirement to abstain, and
remand is denied.
        ACCORDINGLY, IT IS ORDERED that the Emergency Motion to Remand of Ali
Choudhri (ECF No. 3), and Alternative Motion for Abstention (ECF No. 15) are denied.
         SIGNED 08/12/2024

                                                           ___________________________________
                                                           Jeffrey Norman
                                                           United States Bankruptcy Judge


12
   ECF No. 15.
13
   Schuster v. Mims (In re Rupp & Bowman), 109 F.3d, 237, 239 (5th Cir. 1997).
14
   Goodman v. Phoenix Container (In re DeMert & Dougherty, Inc.), 271 B.R. 821, 842 (Bankr. N.D. Ill. 2001).
15
   Case No. 23-34815, ECF No. 566, page 7, Section LL.
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